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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

ACE AMERICAN INSURANCE COMPANY,           :
et al,                                    :
               Plaintiffs,                :
                                          :
                  v.                       :                Civil No. 5:21-cv-02331-JMG
                                          :
FIRST CALL ENVIRONMENTAL, LLC,            :
                  Defendant.              :
__________________________________________

                                            ORDER


       AND NOW, this 9th day of January, 2023, upon consideration of Plaintiffs Bulk

Chemicals, Inc., Illinois Union Insurance Company, and Ace American Insurance Company’s

Motion for Sanctions (ECF No. 68), Defendant First Call Environmental, LLC’s Response in

Opposition to Plaintiffs’ Motion for Sanctions (ECF No. 72), and Plaintiffs’ Reply to Defendant’s

Response in Opposition (ECF No. 77), IT IS HEREBY ORDERED Plaintiffs’ Motion for

Sanctions (ECF No. 68) is GRANTED.


       IT IS FURTHER ORDERED the Parties shall submit a joint proposed jury instruction

providing an adverse inference against Defendant by Tuesday, January 10, 2023, at 5:00 p.m.

In the event the Parties cannot agree on a proposed jury instruction, each Party shall submit their

own instruction.


                                                            BY THE COURT:


                                                            /s/ John M. Gallagher
                                                            JOHN M. GALLAGHER
                                                            United States District Court Judge
